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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



   CIVIL ACTION NO. 06-cv-01265 WDM MJW


   RELIANCE PRECAST, LLC,

                   Plaintiff,
   v.

   THE UNITED STATES OF AMERICA,

                   Defendant.

   _________________________________________________________________________

                 MOTION FOR LEAVE TO APPEAR TELEPHONICALLY


            The United States of America (the “United States”), by and through its undersigned

   attorneys, hereby moves this Court for leave to appear telephonically at the

   Scheduling/Planning Conference set for September 7, 2006, at 8:30 a.m. in courtroom A-

   502, Fifth Floor, Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado

   80294.

            The lead attorney for the United States, Chad D. Nardiello, Esq. is located in

   Washington, D.C. The United States’ local counsel is Mark Pestal, Assistant United States

   Attorney. However, Mr. Pestal has yet to enter a formal appearance in this case. Chad D.

   Nardiello participated in the pre-scheduling conference meeting on behalf of the United

   States. As such, the United States respectfully requests that Chad D. Nardiello be
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   permitted to appear by telephone at the Scheduling/Planning Conference referenced above,

   and that Mr. Pestal not be required to appear at such hearing.

          DATED this 6th day of September, 2006.        Respectfully submitted,

                                                        TROY A. EID
                                                        United States Attorney

                                                        MARK PESTAL
                                                        Assistant United States Attorney


                                                        s/ Chad D. Nardiello
                                                        CHAD D. NARDIELLO
                                                        GOUD P. MARAGANI
                                                        Trial Attorneys, Tax Division
                                                        U.S. Department of Justice
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                                                               Goud.P.Maragani@usdoj.gov

                                                        Attorneys for United States




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                                CERTIFICATE OF SERVICE

          I hereby certify that I have made service of the foregoing MOTION FOR LEAVE

   TO APPEAR TELEPHONICALLY upon the parties hereto electronically through the

   CM/ECF system for the U.S. District Court for the District of Colorado on the 6th day of

   September, 2006, addressed to:

   RELIANCE PRECAST, LLC
   c/o Theodore (Ted) H. Merriam
   ted@tmerriamlaw.com

   &

   c/o Kevin A. Plannegger
   aandm@taxlaw2848.com



                                                              s/ Chad D. Nardiello
                                                              CHAD D. NARDIELLO
                                                              Trial Attorney, Tax Division
                                                              U.S. Department of Justice




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